USCA4 Appeal: 23-1384        Doc: 49           Filed: 06/30/2023         Pg: 1 of 2



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          June 30, 2023

          VIA CM/ECF

          Patricia S. Connor, Clerk
          United States Court of Appeals for the Fourth Circuit
          1100 E. Main St., Suite 501
          Richmond, VA 23219


          Re:    Appalachian Voices, et al. v. U.S. Department of the Interior, et al., No. 23-1384,
                 Response to Notice of Supplemental Authority Pursuant to Rule 28(j)

          Dear Ms. Connor:

          On June 29, 2023, Petitioners filed a “Response to Rule 28(j) Letters” alerting the Court to a
          June 28, 2023, Federal Energy Regulatory Commission (FERC) Order granting Mountain
          Valley’s request to proceed with construction activities. ECF No. 47. Although Petitioners
          style their filing a “response,” it advises the Court of new authorities and thus warrants its own
          response. See Fed. R. App. P. 28(j) (providing for a response to a letter “setting forth” new
          authorities).

          On June 12, 2023, Mountain Valley advised the Court that it expected the U.S. Army Corps of
          Engineers (Corps) to issue an individual permit for the Mountain Valley project on or before
          June 24, 2023, and that Mountain Valley expected to resume construction shortly
          thereafter. ECF No. 40. As expected, the Corps issued its permit on June 23, and, five days
          later, FERC ordered Mountain Valley to resume construction. Mountain Valley is in the
          process of mobilizing resources to resume construction in early July.

          For all the reasons Mountain Valley and the Federal Respondents have noted already, the Court
          should deny Petitioners’ Motion to Stay. See ECF Nos. 23, 24. But independent of those
          reasons, Section 324 of the Fiscal Responsibility Act removes this Court’s jurisdiction to
          entertain this Petition and shows that Petitioners cannot prevail on the merits. Petitioners say
          that Section 324 is unconstitutional. But, as Mountain Valley will explain in its reply brief to
          be filed on July 10, Petitioners are wrong and this Court lacks jurisdiction to hear that question.


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USCA4 Appeal: 23-1384      Doc: 49       Filed: 06/30/2023     Pg: 2 of 2




          Patricia S. Connor, Clerk
          June 30, 2023
          Page 2


                                                  Sincerely,

                                                  /s/ George P. Sibley, III

                                                  George P. Sibley, III
                                                  Counsel for Mountain Valley Pipeline, LLC


          cc:    All Counsel of Record (via CM/ECF)
